Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 1 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 2 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 3 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 4 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 5 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 6 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 7 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 8 of 9
Case 16-41782-drd13   Doc 237 Filed 09/10/18 Entered 09/10/18 08:19:46   Desc
                        Main Document     Page 9 of 9
